Case 2:21-cv-02258-MWF-KES Document 20 Filed 08/06/21 Page 1 of 1 Page ID #:91

                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES – GENERAL

 Case No.        CV 21-2258-MWF (KESx)                                    Date: August 06, 2021
 Title       Kevin Cox -v- 3405 Overland Avenue, LLC, et al


 Present: The Honorable:      MICHAEL W. FITZGERALD, United States District Judge
                    Rita Sanchez                                        Not Reported
                    Deputy Clerk                                  Court Reporter / Recorder

         Attorneys Present for Plaintiffs:                 Attorneys Present for Defendants:
                  Not Present                                        Not Present

 PROCEEDINGS (IN CHAMBERS):                            COURT ORDER

        In light of the Notice of Settlement [19] filed August 4, 2021, the Court sets
 a hearing on Order To Show Cause Re Dismissal for September 13, 2021 at 11:30
 a.m. If a stipulated dismissal is filed prior to this date, the matter will be taken off
 calendar and no appearance is needed. All other hearings and deadlines are hereby
 vacated.

         IT IS SO ORDERED.




 CV-90 (03/15)                          Civil Minutes – General                               Page 1 of 1
